     Case 2:19-cv-00985-APG-DJA Document 220 Filed 10/14/21 Page 1 of 4




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12
13
14
15                               UNITED STATES DISTRICT COURT

16                                       DISTRICT OF NEVADA

17    BRIAN BORENSTEIN, an individual,                  Case No.: 2:19-cv-00985-APG-DJA

18                                                         STIPULATION AND [PROPOSED]
                                    Plaintiff,
                                                        ORDER FOR PLAINTIFF TO RESPOND
19                                                         TO [ECF 202] DEFENDANTS THE
20    vs.                                                ANIMAL FOUNDATION AND CARLY
                                                          SCHOLTEN’S MOTION TO DISMISS
21    THE ANIMAL FOUNDATION, a domestic                  [ECF NO. 189] & RENEWED SPECIAL
      nonprofit corporation; et al.                       ANTI-SLAPP MOTION TO DISMISS
22
                                                                 UNDER NRS 41.637
                                    Defendants.
23                                                                   (Third Request)
24
25           COME NOW Plaintiff, Brian Borenstein, by and through his counsel, Raelene K.
26    Palmer, Esq. of The Palmer Law Firm, P.C., and Robert S. Melcic, Esq., and Defendants, The

27    Animal Foundation and Carly Scholten, by and through their counsel, Kerry E. Kleiman, Esq.,

28    of the law firm Reid Rubinstein & Bogatz, and hereby request the Court to extend the deadline



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     Case 2:19-cv-00985-APG-DJA Document 220
                                         218 Filed 10/14/21
                                                   10/13/21 Page 2 of 4




 1    for Plaintiff to respond to [ECF 202] Defendants The Animal Foundation and Carly Scholten’s
 2    Motion to Dismiss [ECF No. 189] & Renewed Special Anti-Slapp Motion to Dismiss Under
 3    NRS 41.637 by one week from Friday, October 15, 2021 to Friday, October 22, 2021.
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     Case 2:19-cv-00985-APG-DJA Document 220 Filed 10/14/21 Page 3 of 4




 1             Plaintiff has requested this extension due to a mediation in another matter, scheduled for
 2    October 14, 2021, requiring Attorney Palmer to travel to Reno, Nevada, which mediation was
 3    scheduled after the parties stipulated to the October 15, 2021 deadline, and the Court granted the
 4    request, see ECF No. 199. Attorney Melcic is likewise experiencing personal and family
 5    medical problems, see ECF No. 215, which motion was subsequently withdrawn, see ECF No.

 6    217. The parties submit that this request is made in good faith and not for the purpose of undue

 7    delay.

 8      DATED this 13th day of October 2021.             DATED this 13th day of October 2021.

 9      THE PALMER LAW FIRM, P.C.                        REID RUBINSTEIN & BOGATZ
10      By: / s / Raelene K. Palmer        _____         By: / s / Kerry E. Kleiman        ______
            Raelene K. Palmer, Esq.                         Kerry E. Kleiman, Esq.
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14         Attorneys for Plaintiff, Brian Borenstein        Attorneys for Defendants, The Animal
15                                                          Foundation and Carly Scholten

16                                                  ORDER

17             IT IS SO ORDERED.

18
19             DATED: ___________________________,
                                     October 14    2021.
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                                                    ___________________________________
21                                                  UNITED STATES MAGISTRATE JUDGE
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     Case 2:19-cv-00985-APG-DJA Document 220
                                         218 Filed 10/14/21
                                                   10/13/21 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE
 2           I hereby certify that on October 13, 2021, I caused to be served a copy of the foregoing
 3    Stipulation and [Proposed] Order for Plaintiff to Respond to [ECF 202] Defendants The
 4    Animal Foundation and Carly Scholten’s Motion to Dismiss [ECF NO. 189] & Renewed
 5    Special Anti-Slapp Motion to Dismiss Under NRS 41.637 (Third Request), by electronic filing
 6    through the Court’s CM/ECF system, addressed to:
 7
 8       WILEY PETERSEN
         Jonathan D. Blum, Esq.
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         1050 Indigo Drive, Suite 200B
10
         Las Vegas, Nevada 89145
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12       Attorneys for Defendants, County of Clark
13       and Victor Zavala

14       BAILEY KENNEDY
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         JDickey@BaileyKennedy.com
18       Attorneys for Defendant, Sunrise Hospital
19       and Medical Center, LLC

20
21
22
23                                                ____________________________
24                                                RAELENE K. PALMER
                                                  An employee of The Palmer Law Firm, P.C.
25
26
27
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